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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  KEVIN MICHAEL POWERS and
  TAMMY LEE POWERS,

        Plaintiffs,

  v.                                                 Case No: 8:20-cv-2026-MSS-JSS

  SIG SAUER, INC., L&O SIG SAUER
  VERWALTUNGS-GMBH, and
  DANA SAFETY SUPPLY, INC.,

        Defendants.


                                        ORDER

        THIS CAUSE comes before the Court for consideration of Plaintiffs’ Motion

  to Remand, (Dkt. 15), Defendant Sig Sauer, Inc.’s Response in opposition thereto,

  (Dkt. 20), and Plaintiffs’ Reply. (Dkt. 26) For the reasons that follow, the Court

  GRANTS Plaintiffs' Motion to Remand to State Court.



        I.     BACKGROUND

        On November 25, 2016, Plaintiff Holmes Beach Police Sergeant Kevin Powers

  returned home from work and began to safely store his department-issued firearm

  (“Subject Pistol”). (Dkt. 3-11 at ¶¶ 52-54) The Subject Pistol was .40 caliber handgun

  designed and manufactured by Sig Saur, Inc. (“Sig-USA”). (Id. at ¶ 58) When Plaintiff

  Sergeant Powers attempted to eject the bullet from the Subject Pistol’s chamber, the
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  Subject Pistol discharged causing the bullet to exit the barrel and strike Sergeant

  Powers’ leg. (Id. at ¶¶ 64, 68) The trigger was never pulled. (Id.)

         On May 15, 2020, Plaintiffs initiated a civil action in the Twelfth Judicial

  Circuit in and for Manatee County, Florida alleging significant damages associated

  with the gunshot wound. (Dkt. 1-1) The initial five-count Complaint asserted causes

  of action against Dana Safety Supply, Inc. (“Dana Safety Supply”) and Sig-USA. (Id.)

  Plaintiffs later amended their Complaint to join L&O Sig Sauer Verwaltungs-GMBH

  (“Sig-GMBH”) as a defendant and to add five (5) additional counts against Dana

  Safety Supply, Sig-USA, and Sig-GMBH (collectively, the “Defendants”). (Dkt. 1-2,

  1-3) Specifically, Plaintiffs allege claims of negligence, strict products liability, joint

  venture, partnership liability against Defendants. Sig-USA was served with the

  amended Complaint on August 26, 2020. Two days later, Sig-USA removed this

  action alleging diversity under 29 U.S.C. § 1332 as a basis for federal jurisdiction. (Dkt.

  1)

         In the Notice of Removal, Sig-USA seems to recognize that federal diversity

  jurisdiction is not present on the face of the Amended Complaint because one of the

  named defendants—Dana Safety Supply—is a Florida citizen, as are Plaintiffs. (Id. at

  ¶¶ 10-11) Sig-USA asserts, however, that Dana Safety Supply has been fraudulently

  joined, and that there is complete diversity of citizenship between the properly joined

  parties when this party is disregarded. (Id. at ¶¶ 14, 28-30) The assertion of fraudulent

  joinder is premised on Dana Safety Supply having “no connection to the controversy

  as a defendant” because Dana Safety Supply was allegedly not part of the


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  manufacturing, sale, or distribution of the Subject Pistol. (Id. at ¶¶ 15-16) Accordingly,

  Sig-USA argues that Plaintiffs have no viable claim against Dana Safety Supply and

  complete diversity of citizenship exists as to the properly joined parties.

         On October 7, 2020, Plaintiffs moved to remand the case to state court, alleging

  Dana Safety Supply is a proper party and, therefore, the court lacks subject matter

  jurisdiction. (Dkt. 15) Specifically, Plaintiffs contend Sig-USA failed to meet its burden

  to prove Dana Safety Supply has been fraudulently joined. (Id. at ¶¶ 5-6)



         II.    LEGAL STANDARD

         Motions to remand are governed by 28 U.S.C. § 1447, which authorizes a

  plaintiff to seek remand of a case based on a jurisdictional or procedural defect and

  permits a court to order payment of attorney’s fees and costs incurred as a result of the

  removal. 28 U.S.C. § 1447. The Court also has a continuing obligation as a court of

  limited jurisdiction to assess its jurisdiction at the earliest possible stage of the

  proceedings. See Kirkland v. Midland Mortgage Co., 243 F. 3d 1277, 1279-80 (11th

  Cir. 2001) (citing University of South Alabama v. American Tobacco Co., 168 F. 3d

  405, 410 (11th Cir. 1999)); accord Bochese v. Town of Ponce Inlet, 405 F. 3d 964, 974-

  75 (11th Cir. 2005).

         Federal courts are courts of limited subject matter jurisdiction. Kokkonen v.

  Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted). “In a

  given case, a federal district court must have at least one of three types of subject matter

  jurisdiction: (1) jurisdiction under a specific statutory grant; (2) federal question


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  jurisdiction pursuant to 28 U.S.C. § 1331; or (3) diversity jurisdiction pursuant to 28

  U.S.C. § 1332(a).” Baltin v. Alaron Trading, Corp., 128 F.3d 1466, 1469 (11th Cir.

  1997). A removing defendant bears the burden of proving the existence of federal

  jurisdiction. See Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1319 (11th Cir. 2001).

  When a case is removed based on diversity jurisdiction, the court must remand the

  case to state court if there is not complete diversity between the parties. Stillwell v.

  Allstate Ins. Co., 663 F.3d 1329, 1332 (11th Cir. 2011). Complete diversity exists only

  if “each defendant is a citizen of a different state from each plaintiff.” Owen Equip. &

  Erection Co. v. Kroger, 437 U.S. 365, 373 (1978) (emphasis in original). A corporate

  entity is a citizen of the state in which it is incorporated and the state in which its

  principal place of business is located. 28 U.S.C. § 1332(c).

        The fundamental jurisdictional issue in this case is whether Dana Safety Supply

  is a proper party. Sig Sauer asserts that Dana Safety Supply was fraudulently joined,

  while Plaintiffs assert it was properly joined. Fraudulent joinder occurs when a plaintiff

  names a non-diverse defendant solely in order to defeat federal diversity jurisdiction.

  Henderson v. Wash. Nat'l Ins. Co., 454 F.3d 1278, 1281 (11th Cir. 2006). A defendant

  seeking to prove that a co-defendant was fraudulently joined must demonstrate, by

  clear and convincing evidence, either that: “(1) there is no possibility the plaintiff can

  establish a cause of action against the resident defendant; or (2) the plaintiff has

  fraudulently pled jurisdictional facts to bring the resident defendant into state court.”

  Crowe v. Coleman, 113 F.3d 1536, 1538 (11th Cir.1997).




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        With respect to the first type of fraudulent joinder, “if there is a possibility that

  a state court would find that the complaint states a cause of action against any of the

  resident defendants, the federal court must find that the joinder was proper and remand

  the case to the state court.” Tillman v. R.J. Reynolds Tobacco, 340 F.3d 1277, 1279

  (11th Cir. 2003). “The plaintiff need not have a winning case against the allegedly

  fraudulent defendant; he need only have a possibility of stating a valid cause of action

  in order for the joinder to be legitimate.” Triggs v. John Crump Toyota, Inc., 154 F.3d

  1284, 1287 (11th Cir.1998) (emphasis added).

        In determining “whether the case should be remanded, the district court must

  evaluate the factual allegations in the light most favorable to the plaintiff and must

  resolve any uncertainties about state substantive law in favor of the plaintiff.” Crowe,

  113 F.3d at 1538. A federal court should make “these determinations based on the

  plaintiff's pleadings at the time of removal; but the court may [also] consider affidavits

  and deposition transcripts submitted by the parties.” Id.

        It is important to note that “[w]hile the proceeding appropriate for resolving a

  claim of fraudulent joinder is similar to that used for ruling on a motion for summary

  judgment under Fed.R.Civ.P. 56(b) . . . the jurisdictional inquiry must not subsume

  substantive determination.” Cabalceta v. Standard Fruit Co., 883 F.2d 1553, 1561

  (11th Cir. 1989); see also Montgomery & Larmoyeux, 992 F.Supp. 1372, 1375 (S.D.

  Fla. 1998) (“Therefore, a plaintiff need not show that he can survive a motion for

  summary judgment; the standard is much lighter”). Indeed, federal courts must be

  certain of their jurisdiction before “embarking upon a safari in search of a judgment


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  on the merits.” Crowe, 113 F.3d at 1538. As such, “[w]hen considering a motion to

  remand, federal courts are not to weigh the merits of a plaintiff's claim beyond

  determining whether it is an arguable one under state law.” Id. In other words, a

  “district court's authority to look into the ultimate merits of the plaintiff's claims must

  be limited to checking for obviously fraudulent or frivolous claims.” Id. at 1542

  (emphasis added).



         III.   DISCUSSION

         In its Notice of Removal, Sig-USA asserts only that Plaintiffs have no possible

  claims against Dana Safety Supply because Dana Safety Supply was not part of the

  “chain of distribution” of the Subject Pistol. Specifically, Sig-USA submits that Dana

  Safety Supply never sold or distributed the Subject Pistol to Holmes Beach Police

  Department. Rather, Defendant contends Sig-USA sold the Subject Pistol directly to

  Holmes Beach Police Department. Therefore, Dana Safety Supply could not be liable

  for negligence or strict products liability.

         In order to hold a distributor liable on the theory of strict liability in tort, a

  plaintiff must establish distributor’s relationship to the product in question, the defect

  and unreasonably dangerous condition of the product, and the existence of the

  proximate causal connection between such condition and the user's injuries or

  damages. West v. Caterpillar Tractor Co., 336 So.2d 80, 87 (Fla. 1976); Visnoski v.

  J.C. Penney Co., 477 So. 2d 29, 29-30 (Fla. 2d DCA 1985) (finding the doctrine of

  strict liability applies to distributors). If it is arguable that Dana Safety Supply was


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  within the Subject Pistol’s chain of distribution, Plaintiffs have not made fraudulent or

  frivolous claims against Dana Safety Supply.

         In Plaintiffs’ Motion to Remand, Plaintiffs assert that Sig-USA’s evidence fails

  to prove Dana Safety Supply was not within the chain of distribution of the Subject

  Pistol. (Dkt. 15 at 2-3) Plaintiffs argue that Sig-USA provided inconsistent evidence

  and further discovery is required in state court to determine Dana Safety Supply’s role.

  (Id. at 7-8) Therefore, Plaintiffs contend that Sig-USA’s evidence fails to prove, by

  clear and convincing evidence, that Dana Safety Supply was not part of the sale or

  distribution of the Subject Pistol. (Id.)

         In opposition to remand, Sig-USA submits affidavits from Holmes Beach Police

  Department Chief of Police, William Tokajer, and Sig-USA’s Senior Director of Law

  Enforcement Sales, Matthew Farkas. Chief Tokajer states the police department

  engaged in a trade transaction with Sig-USA wherein the police department would

  exchange various firearms for Sig-USA pistols, including the Subject Pistol, directly

  from Sig-USA. (Dkt. 20-3) Chief Tokajer further asserts that the transaction occurred

  at no cost to the police department. (Id.) Sig-USA’s Mr. Farkas attempted to confirm

  the nature of the transaction along with the parties involved in the transaction via

  review of Sig-USA’s database. (Dkt. 20-1) Mr. Farkas explains that Sig-USA maintains

  an extensive database that tracks “the acquisition and disposition of all firearms it

  sells.” (Id. at ¶ 4) Upon review of Sig-USA’s acquisition and disposition records, Mr.

  Farkas located an invoice dated December 14, 2014 purporting to memorialize the

  trade transaction between Sig-USA and Holmes Beach Police Department (the


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  “Invoice”). (Id. at ¶ 6) Mr. Farkas further asserts the purported transaction reflected in

  the Invoice occurred “without any involvement by Dana Safety Supply.” (Id. at ¶ 9).

  Sig-USA submits that the Invoice and the affidavits of Mr. Farkas and Chief Tokajer,

  clearly and convincingly prove Dana Safety Supply was not part of the chain of

  distribution of the Subject Pistol.

         Plaintiffs, however, contend that due to the lack of corroborating evidence the

  Invoice does not conclusively prove a transaction occurred. (Dkt. 15 at 6-7) Once

  Plaintiffs received the Invoice from Sig-USA, Plaintiffs requested all records of firearm

  sales to the City of Holmes Beach to confirm the transaction. However, Plaintiffs

  contend the transaction described in the Invoice was reflected “nowhere in the City of

  Holmes Beach Budget.” (Id. at 6) Plaintiffs subsequently sought the Invoice’s

  metadata from Sig-USA to confirm the date of its creation. (Dkt. 15 at 7) Sig-USA

  represents that it could not provide the metadata from 2014. (Dkt. 20 at n.3) Sig-USA

  asserts the only metadata available is from the May 2020 – nearly six (6) years after

  the purported transaction occurred. Plaintiffs argue that without the metadata there is

  no way to confirm the Invoice was created at the time of the purported transaction. As

  such, Plaintiffs contend that the absence of any public record to corroborate the

  transaction’s occurrence and the lack of metadata to confirm the date of the Invoice’s

  creation raise significant doubts as to the whether the purported transaction actually

  took place. The Court agrees.




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        The Court also finds the Invoice to be inconsistent with Mr. Farkas’ affidavit.

  Mr. Farkas explains that the database “includes records of the date of each acquisition

  and disposition of a firearm, the firearm model, and the identity of the party the firearm

  is acquired from or disposed to.” (Id.) (emphasis added) Both Mr. Farkas and Chief

  Tokajer describe the transaction at issue as a trade by which Sig-USA would acquire

  firearms from the police department in exchange for new firearms from Sig-USA

  (Dkt. 20-1 at ¶ 7; Dkt. 20-3 at ¶ 2) Mr. Farkas represents that the Invoice reflects that

  trade transaction. (Dkt. 20-1 at ¶ 6) However, the Court finds the Invoice reflects no

  such transaction. The Invoice fails to describe the date Sig-USA acquired the firearms

  from the police department or the firearm models it received. (Dkt. 20-1 at 4-5) The

  Invoice further makes no mention that the transaction was a trade of firearms between

  Sig-USA and the police department. (Id.) In fact, the Invoice reflects a cost of $274.87

  to the police department for the firearms despite Chief Tokajer’s assertion the

  transaction was at no cost to the police department. (Id.) The Court finds the Invoice

  to be insufficient to prove that Sig-USA sold the Subject Pistol directly to Holmes

  Beach Police Department.

        The evidence presented by the parties raises significant questions of fact related

  to existence of Sig-USA’s purported transaction involving the Subject Pistol.

  Resolving, as it must, all questions of fact in Plaintiffs’ favor for purposes of this

  motion, the Court finds that Sig-USA failed to meet its burden to prove its direct sale

  of the Subject Pistol to Holmes Beach Police Department. According to Plaintiff’s

  evidence, Dana Safety Supply is the only entity that sold firearms to Holmes Beach


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  Police Department during the time period at issue. (Dkt. 15 at 6) The City of Holmes

  Beach Budget reflects that Dana Safety Supply engaged in a gun exchange with the

  City of Holmes Beach and its police department firearms in 2015. (Dkt. 15-3) Looking

  further, to the extent the police department received any firearms between 2014 and

  2016, 1 the City of Holmes Beach Budget would tend to show that they were part of

  the gun exchange between the police department and Dana Safety Supply because, on

  this record, no other firearm transaction is reflected in the Budget. (Dkt. 15-2) Absent

  some conclusive evidence from Sig-USA to the contrary, the Court finds that Sig-USA

  failed to establish that there is no possibility that Plaintiffs can maintain their claims

  against Dana Safety Supply. Thus, the Court finds that the factual disputes prevent the

  Court from concluding that Dana Safety Supply was fraudulently joined in this action.

         As such, the Court must consider Dana Safety Supply in its analysis of diversity

  jurisdiction. It is undisputed that Dana Safety Supply is an entity incorporated in

  Florida with its principal place of business in Florida, and it is undisputed that

  Plaintiffs are residents of Florida. As Plaintiffs and Dana Safety Supply are residents

  of the same state, complete diversity is defeated, and Plaintiffs’ Motion to Remand is

  due to be granted.




  1 It seems that the Parties agree the police department received the Subject Pistol no earlier than
  2014. Sig-USA asserts that the Subject Pistol was part of a purported transaction in 2014. (Dkt. 20 at
  4) Plaintiffs submit that the Subject Pistol was part of a gun exchange in 2015. (Dkt. 15 at 6)


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        Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

        1.    Plaintiff’s Motion to Remand, (Dkt. 15), is GRANTED.

        2.    The Clerk is DIRECTED to REMAND this case to the Circuit Court of

  the Twelfth Judicial Circuit in and for Manatee County, Florida.

        3.    Thereafter, the Clerk is DIRECTED to TERMINATE any pending

  motions and CLOSE this case.



        DONE and ORDERED in Tampa, Florida, this 26th day of March, 2021.




  Copies furnished to:
  Counsel of Record
  Any Unrepresented Person




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